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 1   MICHAEL D. GRANSTON
        Deputy Assistant Attorney General
 2   ERIC WOMACK
        Assistant Branch Director
 3   JOSHUA M. KOLSKY
     INDRANEEL SUR
 4      Trial Attorneys
        joshua.kolsky@usdoj.gov
 5      D.C. Bar No. 993430
        Trial Attorney
 6      Civil Division, Federal Programs Branch
        P.O. Box 883
 7      Washington, D.C. 20044
        Telephone: (202) 305-7664
 8      Facsimile: (202) 616-8470
 9   Counsel for the United States of America
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11                              UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF CALIFORNIA
12                                 SAN FRANCISCO DIVISION
13
14                                                        Case No. 3:21-cv-8378-JD
     DONALD TRUMP, et al.,
15                                                        MEMORANDUM OF LAW BY
                     Plaintiffs,                          INTERVENOR UNITED STATES IN
16                                                        SUPPORT OF THE
             vs.                                          CONSTITUTIONALITY OF 47 U.S.C. §
17                                                        230(c)
      TWITTER, INC., et al.,
18
                     Defendants.
19                                                        Action Filed: July 7, 2021
                                                          Trial Date: None Set
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 1                                             INTRODUCTION
 2             Plaintiff, former President Donald Trump, challenges the constitutionality of Section
 3   230(c) of the Communications Decency Act of 1996 (“CDA”) (Pub. L. No. 104-104, § 509,
 4   codified at 47 U.S.C. § 230(c)) in his Motion for Preliminary Injunction (“Motion”).1 In 1996,
 5   Congress passed Section 230(c) in part to “promote the continued development of the Internet
 6   and other interactive computer services and other interactive media.” 47 U.S.C. § 230(b)(1).
 7   Assuming its conditions are met, the statute protects an “interactive computer service” provider
 8   from liability for content created by third parties and hosted by the service (47 U.S.C. §
 9   230(c)(1)), or for voluntarily removing or restricting access to certain types of offensive material
10   (id. § 230(c)(2)).
11             The United States has intervened in response to Plaintiff’s constitutional challenge,2 and,
12   in defense of the statute, respectfully raises two arguments in this brief.

13             First, under the doctrine of constitutional avoidance, this Court should first consider

14   whether it can resolve Plaintiff’s Motion without ruling on the constitutionality of Section 230(c).

15   A court should rule on the constitutionality of a federal statute only when necessary, and here

16   Plaintiff asserts a number of arguments in support of his Motion that could avoid the need for

17   any such ruling, including that Section 230(c) does not apply to the claims alleged by Plaintiff

18   here.

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     1
      The First Amended Complaint in this case lists various plaintiffs in addition to Plaintiff Trump.
21   But because Plaintiff’s Motion was filed on behalf of Plaintiff Trump alone, see Motion at 1, this
     memorandum addresses only Plaintiff Trump’s claims.
22
     2
       The United States’ intervention to defend Section 230(c) in this case is consistent with its
23   intervention in prior suits that raised similar constitutional challenges to the statute. See, e.g.,
     Newman v. Google LLC, No. 20-cv-4011-LHK, ECF No. 53 (N.D. Cal. Mar. 23, 2021); Divino
24
     Group LLC v. Google LLC, No. 19-cv-04749-VKD, ECF No. 46 (N.D. Cal. May 8, 2020).
25   Courts routinely reject constitutional challenges to Section 230(c). See, e.g., Green v. AOL, 318
     F.3d 465, 472 (3d Cir. 2003); Winter v. Facebook, Inc., 2021 U.S. Dist. LEXIS 224836, at *12-
26   13 (E.D. Miss. Nov. 22, 2021); Lewis v. Google LLC, 461 F. Supp. 3d 938, 952-53 (N.D. Cal.
     2020), aff’d, 851 F. App’x 723 (9th Cir. 2021); La’Tiejira v. Facebook, Inc., 272 F. Supp. 3d
27   981, 994-95 (S.D. Tex. 2017); Parker v. PayPal, Inc., 2017 U.S. Dist. LEXIS 130800, at *16-17
28   (E.D. Pa. Aug. 16, 2017).

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 1             Second, if the Court concludes that it must address the constitutionality of Section 230(c),
 2   Plaintiff’s challenge should be rejected on the merits. Section 230(c) does not regulate Plaintiff’s
 3   speech. Instead, the statute establishes a content- and viewpoint-neutral rule prohibiting liability
 4   for certain conduct by providers of interactive computer services. Although Plaintiff’s Motion
 5   barely addresses his constitutional challenge to Section 230(c), Plaintiff appears to contend that
 6   Section 230(c) is unconstitutional because it allegedly “encourages” Twitter to “censor
 7   constitutionally protected speech.” Motion at 9. But Section 230(c) does not mandate any action
 8   on the part of Twitter, which remains a private entity, as the Ninth Circuit recently held as to a
 9   similar social media company. See Prager University v. Google LLC, 951 F.3d 991, 995 (9th
10   Cir. 2020). Instead, as Plaintiff himself recognizes, Section 230(c) “permits (but does not
11   require)” the editorial decisions of website operators. Motion at 10. While it is of course true
12   that the statute shields providers from liability for choosing to exclude content from their

13   platforms, it affords comparable protection to providers who are sued for allowing content to

14   appear. It thereby allows those providers the freedom to decide whether to remove content on

15   their online platforms without fear of liability. Accordingly, Plaintiff’s challenge to Section

16   230(c) is meritless and should be rejected.3

17                                              BACKGROUND

18             I.      Statutory Background

19             Section 230(c) of the CDA is entitled “Protection for ‘Good Samaritan’ blocking and

20   screening of offensive material.” The statute “immunizes providers of interactive computer

21   services against liability arising from content created by third parties.” Fair Hous. Council of

22   San Fernando Valley v. Roommates.Com, LLC, 521 F.3d 1157, 1163-64 (9th Cir. 2008) (en banc)

23   (footnotes omitted). In particular, Paragraph (1) states: “No provider . . . of an interactive

24   computer service shall be treated as the publisher or speaker of any information provided by

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      The President has expressed support for reforms of Section 230(c)—but whether the statute is
27   constitutional as applied to the facts presented here is distinct from the question whether Section
28   230(c) remains good policy.

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 1   another information content provider.” 47 U.S.C. § 230(c)(1).4 The statute also provides that
 2   “[n]o cause of action may be brought and no liability may be imposed under any State or local
 3   law that is inconsistent with this section.” Id. § 230(e)(3). The result is to protect online platforms
 4   from such liabilities as those the common law imposed on publishers or speakers for libel or
 5   slander. Courts have also construed the limitation to shield online platforms against certain
 6   liabilities under federal law. See, e.g., Sikhs for Justice “SFJ”, Inc. v. Facebook, Inc., 144 F.
 7   Supp. 3d 1088, 1096 (N.D. Cal. 2015), aff’d sub nom. Sikhs for Justice, Inc. v. Facebook, Inc.,
 8   697 F. App’x 526 (9th Cir. 2017). The immunity applies only when the interactive computer
 9   service provider is not also the “information content provider” of the material in question— i.e.,
10   the person “responsible, in whole or in part, for the creation or development of” the “offending
11   content.” See Roommates, 521 F.3d at 1162-63 (quoting 47 U.S.C. § 230(f)(3)).
12             According to the Ninth Circuit, Section 230(c)(1) shields the defendant from a claim

13   wherever “the duty that the plaintiff alleges the defendant violated derives from the defendant’s

14   status or conduct as a ‘publisher or speaker’ [of content provided by another].” Barnes v. Yahoo!,

15   Inc., 570 F.3d 1096, 1102 (9th Cir. 2009). In that context, the Ninth Circuit views “publication”

16   as “involv[ing] reviewing, editing, and deciding whether to publish or to withdraw from

17   publication third-party content.” Id. The Ninth Circuit has remarked in an en banc opinion that

18   “any activity that can be boiled down to deciding whether to exclude material that third parties

19   seek to post online is perforce immune” under Section 230(c)(1). Roommates, 521 F.3d at 1170-

20   71.

21             For its part, Paragraph (2) describes a separate immunity. It states:

22                    No provider or user of an interactive computer service shall be held liable
               on account of —
23
24
     4
25     The statute defines “interactive computer service” as “any information service, system, or
     access software provider that provides or enables computer access by multiple users to a
26   computer server, including specifically a service or system that provides access to the Internet
     and such systems operated or services offered by libraries or educational institutions.” 47 U.S.C.
27   § 230(f)(2). “[T]he most common interactive computer services are websites.” Roommates, 521
28   F.3d at 1162 n.6.

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                       (A) any action voluntarily taken in good faith to restrict access to or
 1             availability of material that the provider or user considers to be obscene, lewd,
               lascivious, filthy, excessively violent, harassing, or otherwise objectionable,
 2             whether or not such material is constitutionally protected; or
 3                    (B) any action taken to enable or make available to information content
 4             providers or others the technical means to restrict access to material described in
               [sub]paragraph [A].
 5   47 U.S.C. § 230(c)(2).5
 6             The problem Congress sought to solve in Section 230(c) arose from a New York state
 7   trial court’s ruling that an internet service provider that had voluntarily deleted some messages
 8   from an online message board was then “legally responsible for the content of defamatory
 9   messages that it failed to delete.” See Roommates, 521 F.3d at 1163 (discussing Stratton
10   Oakmont, Inc. v. Prodigy Servs. Co., No. 31063/94, 1995 WL 323710 (N.Y. Sup. Ct. May 24,
11   1995)). Congress responded in the statute by “immuniz[ing] the removal of user-generated
12   content, not the creation of content.” Id. That is, Section 230(c) “provides ‘Good Samaritan’
13   protections from civil liability” for interactive computer service providers for actions to restrict
14   “access to objectionable online material.” H.R. Rep. No. 104-458 (1996) (Conf. Rep.), as
15   reprinted in 1996 U.S.C.C.A.N. 10. “One of the specific purposes of [Section 230(c)] is to
16   overrule Stratton” which treated such providers “as publishers or speakers of content that is not
17   their own because they have restricted access to objectionable material.” Id.
18             II.     Procedural Background
19             Plaintiff filed this action on July 7, 2021, and a First Amended Complaint (“FAC”), ECF
20   No. 21, on July 27, 2021. Plaintiff alleges that Twitter permanently banned him on January 7,
21   2021, “for exercising his constitutional right of free speech.” FAC ¶¶ 6, 113. Twitter allegedly
22   stated that the suspension was “due to the risk of further incitement of violence[.]” Id. ¶ 114. In
23   the FAC, Plaintiff alleges that Twitter’s ban was the product of “Democrat legislators [who]
24
     5
25    The text of Paragraph (2)(B) refers to “the material described in paragraph (1),” but the Ninth
     Circuit “take[s] it that the reference to the ‘material described in paragraph (1)’ is a typographical
26   error, and that instead the reference should be to . . . § 230(c)(2)(A),” because “Paragraph (1)
     pertains to the treatment of a publisher or speaker and has nothing to do with ‘material,’ whereas
27   subparagraph (A) pertains to and describes material.” Zango, Inc. v. Kaspersky Lab, Inc., 568
28   F.3d 1169, 1173 n.5 (9th Cir. 2009).

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 1   feared the Plaintiff’s skilled use of social media as a threat to their own re-election efforts.” Id.
 2   ¶ 51. Plaintiff claims those legislators and other public figures “coerced Defendants to act as
 3   their agent to exercise content and viewpoint censorship against the Plaintiff and the Putative
 4   Class Members,” including by allegedly “threaten[ing] to revoke the unconstitutional limited
 5   immunity for ‘good faith’ censorship under Section 230[.]” Id. ¶ 54.
 6          The FAC alleges that Defendants’ “censorship” of speech violates the First Amendment,
 7   on the theory that Twitter was “acting in concert with federal officials” and that its conduct
 8   “amounts to state action.” Id. ¶¶ 173-74; see also id. ¶¶ 168-87. Plaintiff also seeks a declaratory
 9   judgment that Sections 230(c)(1) and (2) are unconstitutional, on the theory that those immunity-
10   conferring provisions were enacted by Congress “to induce, encourage and promote” censorship
11   by social media companies that “Congress could not constitutionally accomplish itself.” Id. ¶
12   193; see also id. ¶¶ 188-99. Finally, Plaintiff asserts two Florida state-law claims for unfair and

13   deceptive trade practices arising from Twitter’s purported failure to apply its own terms of service

14   even-handedly. Id. ¶¶ 200-33.

15          Plaintiff filed a notice of the constitutional challenge under Rule 5.1 on July 9, 2021. ECF

16   No. 5. The U.S. District Court for the Southern District of Florida certified the constitutional

17   question on July 21, 2021. ECF No. 18.

18          Plaintiff filed his Motion for Preliminary Injunction on October 1, 2021. ECF No. 62.

19   That Motion argues, inter alia, that Plaintiff is likely to succeed on the merits of his various

20   constitutional and non-constitutional claims, but it barely addresses Plaintiff’s constitutional

21   challenge to Section 230(c). Motion at 18-19. The two paragraphs devoted to the constitutional

22   challenge merely state that Plaintiff’s challenge is as-applied and argue that Section 230(c)

23   violates the principle that government “may not induce, encourage or promote private persons to

24   accomplish what it is constitutionally forbidden to accomplish.” Id. (quoting Norwood v.

25   Harrison, 413 U.S. 455, 465 (1973)). In a different section of the Motion pertaining to count

26   one of the FAC, Plaintiff argues that “Section 230(c) itself is a significant encouragement to

27   censor constitutionally protected speech” because “Section 230(c)(2) immunizes social media

28   companies from liability for any action taken in good faith to ‘restrict’ speech they or their Users

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 1   deem ‘objectionable,’ even if that speech is ‘constitutionally protected.’” Id. at 9. And Plaintiff
 2   contends that “Congress encouraged private Internet actors to do what it could not do itself” and
 3   that “[e]very act by Defendant in censoring Plaintiff’s speech was significantly encouraged by,
 4   and in reliance upon, the immunity granted by Section 230(c)(2).” Id. Plaintiff also makes
 5   arguments that, if accepted, would avoid the need to decide the constitutionality of Section
 6   230(c). Specifically, he contends that Section 230(c) does not immunize Defendants from
 7   liability because: (a) “Defendants’ actions are at issue—not the speech of third-party Users of its
 8   platform;” (b) Section 230(c) does not prohibit liability for removing the type of content at issue
 9   here; and (c) Section 230(c) “provides no protection for unfair and deceptive trade practices.”
10   Id. at 16-18. The Motion seeks various forms of injunctive and declaratory relief, including an
11   order “[e]njoining and declaring that Section 230(c) of the Communications Decency Act of 1996
12   is unconstitutional as applied to the facts of this case[.]” Id. at 29.

13                                          LEGAL STANDARD

14           A preliminary injunction is “an extraordinary and drastic remedy” that should not be

15   granted “unless the movant, by a clear showing, carries the burden of persuasion.” Lopez v.

16   Brewer, 680 F.3d 1068, 1072 (9th Cir. 2012). “A plaintiff seeking a preliminary injunction must

17   establish that he is likely to succeed on the merits, that he is likely to suffer irreparable harm in

18   the absence of preliminary relief, that the balance of equities tips in his favor, and that an

19   injunction is in the public interest.” Karnoski v. Trump, 926 F.3d 1180, 1198 (9th Cir. 2019)

20   (quoting Winter v. NRDC, 555 U.S. 7, 20 (2008)); see Munaf v. Geren, 553 U.S. 674, 690 (2008)

21   (likelihood of success requires far more than identifying “serious, substantial, difficult, and

22   doubtful” questions).

23                                              ARGUMENT

24           I. THE COURT SHOULD FIRST CONSIDER ALTERNATIVE GROUNDS FOR A DECISION
                BECAUSE THEY MAY OBVIATE THE NEED TO ADDRESS PLAINTIFF’S
25              CONSTITUTIONAL CHALLENGE

26           As an initial matter, this Court should not address the constitutionality of Section 230(c)

27   unless it first determines that the pending motion for preliminary injunction cannot be resolved

28   on other grounds.       “[T]he power of the federal courts to declare Acts of Congress

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 1   unconstitutional” is “the gravest and most delicate duty that [courts are] called on to perform.”
 2   United States v. Raines, 362 U.S. 17, 20 (1960) (quoting Blodgett v. Holden, 275 U.S. 142, 147
 3   (1927) (Holmes, J., concurring)). In considering a challenge to a federal statute, “courts must
 4   “never . . . anticipate a question of constitutional law in advance of the necessity of deciding it”
 5   or “formulate a rule of constitutional law broader than is required by the precise facts to which it
 6   is to be applied.” Id. at 21. Thus, the “delicate power of pronouncing an Act of Congress
 7   unconstitutional,” id. at 22, should not be considered unless a court has first determined that the
 8   case cannot be resolved on other grounds. See Greater New Orleans Broad. Ass’n v. United
 9   States, 527 U.S. 173, 184 (1999) (“[W]e do not ordinarily reach out to make novel or
10   unnecessarily broad pronouncements on constitutional issues when a case can be fully resolved
11   on a narrower ground.”).
12           This Court should adhere to that doctrine of constitutional avoidance and decline to rule

13   on the constitutionality of Section 230(c) unless the motion for preliminary injunction cannot be

14   resolved on other grounds. The United States has intervened solely for the purpose of defending

15   the constitutionality of Section 230(c) and therefore takes no position on the other issues raised

16   by the parties, except to the extent they are relevant to the constitutional challenge. It is apparent,

17   however, that the Court’s resolution of those issues might obviate the need to consider Section

18   230(c)’s constitutionality.

19           Section 230(c) immunity is an affirmative defense, so the Court need not consider the

20   constitutionality of that provision unless Plaintiff has first demonstrated that he has otherwise

21   sufficiently alleged valid claims against Defendants. Accordingly, before the Court reaches the

22   constitutional challenge as part of the preliminary injunction motion, it should first consider

23   whether Plaintiff is otherwise likely to succeed on the merits of his claims against Twitter. For

24   example, the Court might decide that Twitter is not a state actor constrained by the First

25   Amendment, in which case Plaintiff could not prevail on count one of the FAC, meaning there

26   would be no need to address the constitutionality of Section 230(c) with regard to that claim.

27   And the Court might similarly decide that Plaintiff is not likely to succeed on the elements of his

28   state law claims.

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 1          Another possible avoidance path stems from Plaintiff’s contention that Section 230(c)
 2   does not apply to the misconduct alleged. See Motion at 15-18. If the Court were to conclude
 3   that Twitter’s acts as alleged by Plaintiff do not fit within the terms of either Section 230(c)(1)
 4   or (2), then the statute would not apply, and there would be no occasion for passing on the
 5   constitutionality of the statute. Similarly, if the Court were to agree with Plaintiff that Twitter
 6   was coerced into suspending Plaintiff’s account, it might determine that immunity under Section
 7   230(c)(2), which applies to certain actions “voluntarily taken in good faith,” is unavailable. See
 8   47 U.S.C. § 230(c)(2)(A).
 9          To be sure, the FAC purports to plead a claim seeking a declaration that Section 230(c)
10   is unconstitutional. FAC ¶¶ 188-99. But that claim, too, can be resolved on non-constitutional
11   grounds. Although styled as an independent claim for relief, that claim merely anticipates
12   Defendants’ affirmative defense invoking Section 230(c). As courts have held in similar

13   circumstances, “using the Declaratory Judgment Act to anticipate an affirmative defense is not

14   ordinarily proper.” Newman v. Google LLC, No. 20-cv-4011-LHK, 2021 U.S. Dist. LEXIS

15   119101, at *42 (N.D. Cal. June 25, 2021) (quoting Divino Group LLC v. Google LLC, No. 19-

16   cv-04749-VKD, 2021 U.S. Dist. LEXIS 3245, at *32 (N.D. Cal. Jan. 6, 2021)). After all, if

17   Plaintiff has not demonstrated a likelihood of success on his underlying claims, or if the

18   affirmative defense is otherwise unavailable, then the constitutionality of the affirmative defense

19   is altogether irrelevant to Plaintiff’s pending motion.

20          In short, where “dispositive” grounds may be available that do not require adjudicating

21   the constitutionality of a federal statute, it is “incumbent on” this Court to examine and decide

22   the case on those grounds first. Cf. N.Y.C. Transit Auth. v. Beazer, 440 U.S. 568, 582 (1979)

23   (“Before deciding the constitutional question, it was incumbent on [lower courts] to consider

24   whether the statutory grounds might be dispositive.”); Newman, 2021 U.S. Dist. LEXIS 119101,

25   at *43 (“[I]t would be inappropriate to adjudicate the constitutionality of Section 230 at this stage

26   in the instant case because such adjudication is avoidable and unnecessary to decide Defendants’

27   motion to dismiss.”); Divino, 2021 U.S. Dist. LEXIS 3245, at *33.

28

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               II. IF THE COURT REACHES THE QUESTION, IT SHOULD CONCLUDE THAT
 1                 SECTION 230(C) IS CONSTITUTIONAL
 2             If the Court were to address the constitutionality of Section 230(c), it should conclude
 3   that Plaintiff’s challenge fails on the merits. Plaintiff’s constitutional challenge is not fully
 4   developed in the preliminary injunction motion, as Plaintiff devotes only two paragraphs to the
 5   argument. See Motion at 18-19.6 The first paragraph merely explains that Plaintiff’s challenge
 6   is as-applied, and the second paragraph consists of a single sentence, as follows:
 7             Section 230, as applied, violates the fundamental principle the Supreme Court has
               long recognized: government “may not induce, encourage or promote private
 8             persons to accomplish what it is constitutionally forbidden to accomplish.”
               Norwood, 413 U.S. at 465 (quoting Lee v. Macon County Board of Education, 267
 9             F. Supp. 458, 475-76 (M.D. Ala. 1967)).

10   Id. at 19.
11             In a different section of the Motion (pertaining to count one of the FAC), Plaintiff argues
12   that “Section 230(c) itself is a significant encouragement to censor constitutionally protected
13   speech” because “Section 230(c)(2) immunizes social media companies from liability for any
14   action taken in good faith to ‘restrict’ speech they or their Users deem ‘objectionable,’ even if
15   that speech is ‘constitutionally protected.’”        Motion at 9.   Plaintiff further contends that
16   “Congress encouraged private Internet actors to do what it could not do itself” and that “[e]very
17   act by Defendant in censoring Plaintiff’s speech was significantly encouraged by, and in reliance
18   upon, the immunity granted by Section 230(c)(2).” Id. Plaintiff relies primarily on the Supreme
19   Court’s decisions in Skinner v. Railway Labor Executives’ Association, 489 U.S. 602 (1989), and
20   Railway Employees’ Department v. Hanson, 351 U.S. 225 (1956), in advancing these arguments.
21   See Motion at 9-11.
22             Thus, although Plaintiff’s constitutional challenge is not fully developed, it appears that
23   Plaintiff’s argument is that Section 230(c) is unconstitutional because it supposedly “encourages”

24   Twitter to “censor constitutionally protected speech.” Id. at 9. That argument misunderstands

25   the nature of Section 230(c) and the reach of the Skinner and Hanson decisions. Section 230(c)

26   does not require online service providers to limit or regulate speech by their users. Instead,

27   6
      The United States reserves the right to respond to any new or expanded arguments that Plaintiff
28   may later raise in support of his challenge to Section 230(c).

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 1   Section 230(c) allows companies like Twitter to choose to remove content or allow it to remain
 2   on their platforms, without facing liability as publishers or speakers for those editorial decisions.
 3   See Barnes, 570 F.3d at 1102 (in the context of Section 230(c), “publication involves reviewing,
 4   editing, and deciding whether to publish or to withdraw from publication third-party content.”)
 5   (emphasis added). Section 230(c) does not reflect a preference for restricting content, much less
 6   for restricting content relating to any particular viewpoint.
 7          Plaintiff relies primarily on Skinner, in which federal regulations (1) required private
 8   railroad companies to administer drug and alcohol tests to railroad employees involved in certain
 9   railway accidents, and (2) authorized but did not require such tests for employees who violated
10   certain safety rules in other circumstances. 489 U.S. at 606–11. The Supreme Court held that the
11   regulations mandating testing constituted government action within the purview of the Fourth
12   Amendment because a railroad that complies with such regulations does so by “compulsion of

13   sovereign authority” and therefore must be viewed as an instrument or agent of the government.

14   Id. at 614. The Supreme Court further held that the regulations allowing but not mandating

15   testing nevertheless established that the government “did more than adopt a passive position

16   toward the underlying private conduct” but had instead “encourage[ed], endors[ed], and

17   participat[ed]” in the testing. Id. at 615–16. In particular, the government “made plain . . . its

18   desire to share the fruits of” the testing and “mandated that the railroads not bargain away the

19   authority to perform tests granted by” the federal law. Id. at 615.

20          As courts in this district have already concluded, the federal regulations in Skinner bear

21   no relationship to Section 230(c). “[N]othing about Section 230 is coercive.” Divino, 2021 U.S.

22   Dist. LEXIS 3245, at *17 (contrasting the regulations in Skinner). Rather, “Section 230 reflects

23   a deliberate absence of government involvement in regulating online speech[.]” Id. “Unlike the

24   regulations in Skinner, Section 230 does not require private entities to do anything, nor does it

25   give the government a right to supervise or obtain information about private activity.” Id.

26   Therefore, Twitter “remains a private forum, not a public forum subject to judicial scrutiny under

27   the First Amendment.” Prager University v. Google LLC, 951 F.3d 991, 995 (9th Cir. 2020).

28   “[C]ourts have uniformly concluded that digital internet platforms that open their property to

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 1   user-generated content do not become state actors[.]” See id. at 997; see also Atkinson v. Meta
 2   Platforms, Inc., No. 20-17489, 2021 U.S. App. LEXIS 34632, at *3 (9th Cir. Nov. 22, 2021)
 3   (“Section 230 of the Communications Decency Act does not independently transform Meta
 4   Platforms into a government actor for First Amendment purposes.”).
 5           For similar reasons, Plaintiff’s reliance on Railway Employees’ Department v. Hanson,
 6   351 U.S. 225 (1956), is misplaced. There, a federal statute expressly authorized railroad
 7   companies and labor organizations to make union shop agreements requiring all employees to
 8   become members of the labor organization. Id. at 228-29. The Supreme Court concluded that
 9   “the federal statute is the source of the power and authority by which any private rights are lost
10   or sacrificed.” Id. at 232. In contrast, here, the immunity-conferring provisions in Section 230(c)
11   permit online service providers to choose for themselves what user-generated content to permit
12   or forbid, without the prospect of civil liability for those editorial decisions. Indeed, the Supreme

13   Court “has never held that” the government’s “mere acquiescence in a private action converts

14   that action into that of the State.” Flagg Bros., Inc. v. Brooks, 436 U.S. 149, 164 (1978); see also

15   Prager, 951 F.3d at 995. Accordingly, the immunity provided by Section 230(c) to Twitter does

16   not violate the First Amendment.

17          Plaintiff’s Motion also argues that members of Congress and other individuals made

18   statements that Plaintiff construes as threatening to revoke Section 230(c) immunity to coerce

19   Twitter to suspend Plaintiff’s account. Motion at 6-8. But the only purported relevance of those

20   statements is that they allegedly “convert[ed] private party conduct into state action.” Id. at 6.

21   Plaintiff does not argue that those statements have any relation to his constitutional challenge to

22   Section 230(c), nor could he. The statements have no bearing on whether the statute itself is

23   constitutional. And Plaintiff cites no decisions in which an otherwise valid statute was deemed

24   unconstitutional because of the statement of a government official. Instead, Plaintiff relies on a

25   series of cases in which government officials allegedly coerced private parties to censor speech.

26   Motion at 6-7. None of those cases, however, involved a constitutional challenge to a statute

27   immunizing private entities; they instead focused on direct challenges to the actions of

28   government officials or private entities. Accordingly, there is no reason to believe that these

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 1   purportedly coercive statements have any relevance to the constitutionality of Section 230(c) or
 2   that they would change the Ninth Circuit’s conclusion in Prager rejecting a constitutional
 3   challenge to a social media company’s content moderation. 951 F.3d at 999.
 4              Accordingly, Plaintiff has not demonstrated that Section 230(c) is unconstitutional as
 5   applied.
 6                                             CONCLUSION
 7           For the foregoing reasons, the Court should decide Plaintiff’s preliminary injunction
 8   motion without addressing the constitutionality of Section 230(c) if possible. If the Court reaches
 9   Plaintiff’s constitutional challenge to this provision, it should reject it.
10
     DATED: December 9, 2021                  Respectfully submitted,
11
12                                            MICHAEL D. GRANSTON
                                              Deputy Assistant Attorney General
13
                                              ERIC WOMACK
14                                            Assistant Branch Director
15
                                              JOSHUA M. KOLSKY
16                                            INDRANEEL SUR
                                              Trial Attorneys
17
                                              By: /s/ Joshua M. Kolsky
18
                                                  JOSHUA M. KOLSKY
19                                            U.S. Department of Justice
                                              Counsel for the United States of America
20
21
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23
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